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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA

                                      Alexandria Division


 UNITED STATES OF AMERICA,                            Crim. No. 1:19-CR-253

                v.                                    The Honorable T.S. Ellis, III
 KRISTOPHER LEE DALLMANN,
                                                      Trial Date: July 26, 2021
 DOUGLAS M. COURSON,

 FELIPE GARCIA,

 JARED EDWARD JAUREQUI,
     a/k/a Jared Edwards,

 PETER H. HUBER, and

 YOANY VAILLANT,
    a/k/a Yoany Vaillant Fajardo

                Defendants.


   GOVERNMENT’S MOTION IN LIMINE TO PRECLUDE DEFENDANTS FROM
  OFFERING EVIDENCE AT TRIAL REGARDING COMMUNICATIONS WITH OR
                ADVICE FROM LEGAL PROFESSIONALS

       On March 25, 2021, defendant Felipe Garcia filed a Notice of Advice of Counsel

Defense. This notice consists of one sentence and does not come close to satisfying the

requirements of asserting an advice-of-counsel defense. Moreover, the facts in this case refute

any attempt by Garcia to suggest that an advice-of-counsel defense exists. Finally, no other

defendant in this case filed a notice of an advice-of counsel defense by the deadline established

by this Court. As such, this Court should conclude that all of the defendants in this case—

including Garcia—are precluded from presenting any evidence related to an advice-of-counsel

defense at the trial scheduled to commence on July 26, 2021. Furthermore, the Court should
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determine that all the defendants are barred from presenting any evidence regarding

communications with or advice from a legal professional for any reason because evidence of this

nature would simply be a way to evade the requirements to assert an advice-of-counsel defense,

and also because its probative value would be substantially outweighed by unfair prejudice,

confusing the issues, and misleading the jury.

                                    FACTUAL SUMMARY

       At the outset, the Government notes that the Court is familiar with the underlying facts in

this matter given previous motions and other filings, including the Government’s recently filed

Trial Brief and Motions in Limine. See Docket Nos. 148, 197, 229, 420, and 450. Thus, the

Government will only discuss the pertinent facts here.

       On December 14, 2020, this Court issued an order directing that any defendant who

intends to assert an advice-of-counsel defense must provide notice and any documents reflecting

the advice of counsel no later than March 25, 2021. Docket No. 427. On March 25, 2021,

defendant Garcia filed a Notice of Advice of Counsel Defense (“Notice”). Docket No. 449.

Garcia was the only defendant to file such a notice.

       In his Notice, Garcia states that he intends to present an advice-of-counsel defense “in

accordance with the statements of co-defendant Polo as reported at Bates 3149, et seq. of the

discovery provided by the Government.” Id. The document that Garcia references is an FBI

report summarizing an interview with defendant Darryl Polo that occurred on November 17,

2017. See Exh. A. 1 During this interview, Polo stated that “everything he has done is legal

under the ‘Fair Use Act’” and that “if he owns a copy of something he can let people rent it.”

Id. at 1. Polo also claimed that he “attend[ed] a meeting with [defendant Kristopher]



1 Excerpts of the relevant portions of FBI Reports are attached as exhibits.


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DALLMANN and a retired judge in Las Vegas during which the judge told DALLMANN that

the JETFLICKS business model was legal. In particular if they owned a copy of a given title,

they could essentially rent that copy to others.” Id.

       In further interviews, Polo then provided some more information about the meeting with

the lawyer. First, he explained that the lawyer “represented to them that so long as Jetflicks

didn’t allow downloads, the streaming of TV shows was not distribution” and “also [she]

supported the concept of owning DVDs prior to posting the show on the Jetflicks service.” Exh.

B, at 5. Polo also stated that he “understood from early on that the Jetflicks model was illegal”

and that other co-conspirators must have known as well, given the fact that “they knew Jetflicks

was using SickRage and torrents” to obtain television episodes. Id. at 6. Polo also noted that

Jetflicks offered a service called Realflicks as a paid add-on that gave subscribers access to

reality television shows. Id. at 3. Such shows were generally not available for purchase. Id.

       Second, in a later interview, Polo provided more details about this meeting with the

lawyer. He noted that the lawyer was “older with a beehive hairdo” and “might have been a

neighbor of Dallmann’s.” Exh. C, at 3. Polo also stated that “[t]he lawyer showed them a law

from 2005 that said you were allowed to own a backup of any work that you legally owned” and

that “it was ok to stream the television shows if you owned a copy of the show [as long as you]

own[ed] as many copies as were being streamed at any given time.” Id. However, Polo noted

that Jetflicks did not comply with even this legal interpretation. For example, Jetflicks did not

have “legitimately owned DVDs” for every television show and did not have multiple copies for

each person watching a given episode at a time; they showed television episodes as soon as they

were aired and before they were on DVDs and sometimes even before they were aired on the

West Coast; and they used SickRage and Sick Beard “to obtain 100% of the content, and [those]




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were completely illegal sources.” Id. at 4. Subsequently, Polo pleaded guilty to numerous

counts in the indictment. Docket 131-133.

       Besides omitting these additional statements by Polo, the Notice that Garcia filed is

deficient for numerous reasons. Specifically, Garcia provides no information regarding when

this alleged attorney meeting occurred, who this individual was that rendered the advice (other

than Polo’s claim that she was a “retired judge”), why this meeting was held, or what facts were

provided to this individual. Moreover, Garcia provides no evidence to suggest that he (or

anyone else at Jetflicks) actually followed the legal advice that he claims was rendered by this

person. Finally, in his Notice, Garcia does not mention if he was present for this alleged

meeting.

                                          DISCUSSION

       Good faith reliance on the advice of counsel is a defense that an individual can present to

attempt to negate the required mens rea that the Government must prove for an individual to be

convicted of a crime. United States v. Okun, 2009 WL 414009, at *6 (E.D. Va. Feb. 18, 2009)

(Payne, J.). This Court has previously explained that to present a reliance-on-counsel defense,

defendants most present more than a scintilla of evidence that

       i) the advice was sought and received before taking action; ii) [defendants] in
       good faith sought the advice of a professional whom they considered competent;
       iii) the purpose of securing the advice was to determine the lawfulness of future
       conduct; iv) a full and accurate report was made to the professional of all material
       facts which the defendants knew; and v) [defendants] acted strictly in accordance
       with the advice of the professional who had been given a full report.

United States v. Dallmann, 433 F.Supp.3d 804, 810 (E.D. Va. 2020) (citing United States v.

O’Connor, 158 F.Supp.2d 697, 727-28 (E.D. Va. 2001) (Ellis, J.)). This Court has further noted

that the Fourth Circuit has consolidated these elements into two requirements—specifically, a

defendant is required to present evidence that 1) all the pertinent facts were fully disclosed to the



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legal professional; and 2) the defendant relied in good faith on the expert’s advice. Id.; see also

United States v. Westbrooks, 780 F.3d 593, 596 (4th Cir. 2015). While the Government is

required to prove the element of “willfulness,” the court can require the defendant to produce

evidence supporting an advice-of-counsel defense. Id.

       Here, Garcia has not even attempted to present evidence that would satisfy either of the

two standards to assert an advice-of-counsel defense. First, Garcia has offered no information

about when this alleged meeting occurred and if it occurred prior to Jetflicks making pirated

television content available to subscribers. See Okun, 2009 WL 414009, at *8 (noting that in

determining the admissibility of evidence regarding advice of counsel, it is “critical to

admissibility that the advice was received by the defendant ‘before taking action’” because a

defendant who has taken “‘significant steps’ toward completing a criminal action cannot avail

himself of later-received advice of counsel”); see also United States v. Polytarides, 584 F.2d

1350, 1352 (4th Cir. 1978) (noting that a crucial element in establishing reliance on advice of

counsel is that the advice was secured regarding a possible future act). Moreover, Garcia has

not identified the “retired judge” who provided the alleged advice, and thus it is impossible to

determine if this person was in fact a legal professional who was competent to provide legal

advice on this subject. See Bursten v. United States, 395 F.2d 976, 982 (5th Cir. 1968)

(concluding that it is not solely sufficient to make full disclosure to a professional—a defendant

must also establish that the professional was competent and that this person provided

independent advice that the defendant followed in good faith); O’Connor, 158 F.Supp.2d at 728.

n.56. And Garcia has failed to provide any information with regard to why this alleged legal

advice was sought in the first place.

       Next, Garcia has offered no information about what material facts were presented to the




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lawyer who allegedly provided this guidance. In fact, it is impossible to determine what the

basis of this individual’s advice was or whether she was even in a position to provide competent

legal advice. Id. at 728 (concluding that for a number of reasons, including that defendants were

not forthright and truthful to the legal professional in question, that an advice of counsel defense

was “fruitless”); see also Westbrooks, 780 F.3d at 597 (concluding that the district court properly

determined that advice-of-counsel defense did not apply when district court determined that

defendant did not establish full disclosure of all pertinent facts).

       Further, there is no evidence suggesting that Garcia relied upon any alleged legal advice

by the “retired judge”—even assuming that she gave the advice that Polo described. In fact, the

evidence shows that Garcia willfully conspired to commit criminal copyright infringement.

       For instance, to the extent that Garcia is arguing that he believed Jetflicks “owned” a

copy of each of the television programs available in the Jetflicks database, it is unclear how he

believed Jetflicks acquired these ownership rights. Numerous text messages either sent or

received by Garcia show that Garcia was aware that Jetflicks was obtaining content for the

Jetflicks database the same day that it aired. See, e.g., GEX 6, GEX 34, GEX 40, and GEX 49. In

fact, on October 16, 2013, Dallmann and Garcia had the following exchange, in which Dallmann

mocked a subscriber complaining about Jetflicks on Facebook:

       Dallmann        Yea [redacted], thats tough waiting sometimes a week especially
                       when Netflix has it same day. Oh wait they dont. You have to
                       wait months with the competition. Quit crying. Jetflicks! is hands
                       down THE best streaming TV provider in the world! I'm a very
                       happy customer since January 2010. The best bang for your buck!
                       Thanks again Jetflicks!

       Garcia          :) makes me so happy and worth the late hours

GX 012. Similarly, on January 23, 2015, Garcia impatiently emailed defendant Courson:

       I've been asking why shows aren't updating like they ust to?! Yesterday it took



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       longer than normal to update Vanderpump rules.. Now it's 10pm Wednesday and
       Real Housewives of Beverly Hills still isn't there from yesterday? Why aren't
       shows updating like they ust to the next morning? We can just hop on to bravo
       now and watch the shows or whatever else in the next 24 hour time frame and skip
       paying the fee of jetflicks.. Not understanding the point of this now? This was my
       main reason for using Jetflicks..

GX 049. It defies belief that Garcia would have believed that Jetflicks legitimately obtained

copies of these television programs and in fact “owned” these programs when Jetflicks was

obtaining the content the same day that it aired.

       Moreover, the Government’s evidence shows that Garcia knew that the source of

Jetflicks’ content was sites such as Sick Beard. Garcia had numerous conversations with co-

conspirators discussing Sick Beard and obtaining content from it. See, e.g.,, GEX 13, GEX 28,

GEX 29, and GEX 49. If Garcia thought shows could be rented if they were owned, it seems he

would have expected for the co-conspirators to be visiting online retail stores to purchase shows

rather than sourcing them from pirate sites.

       Most telling, the evidence shows that once Garcia left the conspiracy, he threatened to

report Dallmann to the Motion Picture Association of America (“MPAA”). See GEX 64, 64A. If

Garcia believed that what Jetflicks was doing was legal and that Jetflicks was obtaining its

content from legitimate sources in conformance with this alleged legal advice, why would Garcia

have threatened to report Dallmann to the MPAA. The evidence in this case belies any

suggestion that Garcia was relying on alleged legal advice that Jetflicks could “rent” material

when the company owned a copy of a particular television program.

       In addition, Garcia’s notice of an advice-of-counsel defense is deficient in another key

way: he does not suggest that he was present for this alleged meeting with the lawyer. Instead,

Garcia suggests that his defense is “in accordance with the statements of co-defendant Polo as

reported at Bates 3149, et seq. of the discovery provided by the Government.” Docket No. 449,



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at 1. Put succinctly, Garcia is relying on Polo’s statements of what advice was rendered at this

alleged meeting. This is impermissible. The Fourth Circuit has made clear that “an

intermediary’s alleged ‘conveyance’ of an attorney’s advice to a criminal defendant ‘does not

satisfy the elements of a reliance defense.’” United States v. Narang, 2019 WL 3949308, at *14

(E.D. Va. Aug. 21, 2019).

       Finally, as a separate matter, no other defendant filed a Notice of Advice-of-Counsel

Defense by the required deadline. See Docket No. 427. Thus, the Court should make clear not

only that the defendants are barred from advancing an advice-of-counsel defense but also that

they are precluded from presenting evidence of any communications or advice from a legal

professional or reliance thereon.

       First, given the fact that none of the other defendants filed a notice to raise this

affirmative defense, it is entirely possible that these defendants realize that they cannot satisfy

the requirements of asserting an advice-of-counsel defense but still intend to attempt to elicit

testimony or present evidence regarding advice received from counsel, even if the defendants do

not present this evidence as an affirmative defense. This Court should not permit such an

evasion of the advice-of-counsel defense requirements. Instead, it should hold that all of the

defendants are barred from presenting any evidence regarding any communications or advice

from counsel for any reason. Nitinol Medical Technologies, Inc. v. AGA Medical Corp., 135

F.Supp.2d 212, 219 (D. Mass 2000) (ordering that the defendant must either file written notice

by the requisite deadline that it intends to rely on the advice of counsel and produce the required

materials or, if it does not provide such notice, that it is precluded from introducing any evidence

or relying at trial on any claim or defense of advice of counsel).

        Second, any attempt to present such evidence would be substantially outweighed by the




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danger of unfair prejudice, confusing the issues, and misleading the jury, and the Court should

preclude it pursuant to Rule 403 of the Federal Rules of Evidence. See Cobalt Boats, LLC v.

Sea Ray Boats, Inc., 2017 WL 2605977, at *5 (E.D.Va. June 5, 2017) (concluding that because

defendants did not want to waive privilege and assert an advice-of-counsel defense, defendants

could not present evidence regarding consultations with legal counsel because allowing the

evidence would “unfairly prejudice Plaintiff under Rule 403 because its probative value is

largely limited to creating an inference regarding advice of counsel”).

       Accordingly, this Court should bar all of the defendants—including Garcia—from

presenting any evidence at trial regarding communications with or advice from legal

professionals.




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                                      Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 2, 2021, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system, which automatically generated a Notice of Electronic Filing

to the parties of record.



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